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6
7                               UNITED STATES DISTRICT COURT
8                              NORTHERN DISTRICT OF CALIFORNIA

9    SCOTT JOHNSON,                             )     Case No.: 3:20-CV-6544-EMC
                                                )
10           Plaintiff,                         )     NOTICE OF SETTLEMENT AND
                                                )     REQUEST TO VACATE ALL
11     v.                                       )     CURRENTLY SET DATES
     JC REALTY INVESTMENT LLC, a                )
12
     California Limited Liability Company; and ))
     Does 1-10,
13                                              )
             Defendants.                        )
14                                              )
15
16          The plaintiff hereby notifies the court that a provisional settlement has been
17   reached in the above-captioned case. The Parties would like to avoid any additional
18   expense while they focus efforts on finalizing the terms of the settlement and reducing it
19   to a writing. The plaintiff, therefore, applies to this Honorable Court to vacate all
20   currently set dates with the expectation that the settlement will be consummated within

21   the coming sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice

22   as to all parties to be filed.

23                                      CENTER FOR DISABILITY ACCESS

24   Dated: November 15, 2020           By: /s/ Amanda Seabock
                                                Amanda Seabock
25
                                                Attorney for Plaintiff
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27
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     Notice of Settlement             -1-            3:20-CV-6544-EMC
